






					

			


			





NUMBER 13-08-299-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS


						

CORPUS CHRISTI - EDINBURG






IN RE ADOLFO CORTINAS






On Petition for Writ of Mandamus


 


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Garza and Benavides


Per Curiam Memorandum Opinion (1)



	Relator, Adolfo Cortinas, pro se, filed a petition for writ of mandamus in the above
cause on May 12, 2008. (2) The Court, having examined and fully considered the petition for
writ of mandamus, is of the opinion that relator has not shown himself entitled to the relief
sought.  The petition generally fails to comply with Texas Rule of Appellate Procedure 52.3
and fails to establish that the district court:  (1) had a legal duty to perform a
nondiscretionary act, (2) was asked to perform the act, and (3) failed or refused to do so. 
See In re Chavez, 62 S.W.3d 225, 228 (Tex. App.-Amarillo 2001, orig. proceeding). 
Accordingly, the petition for writ of mandamus is DENIED.  See Tex. R. App. P. 52.8(a). 


								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this 23rd day of May, 2008.  
































1.   See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but
is not required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).
2.  On April 16, 2008, relator filed a separate, but similar, pro se petition for writ of mandamus which
was denied by this Court.  See In re Cortinas, No. 13-08-213-CR, 2008 Tex. App. LEXIS 2939, *1 (Tex.
App.-Corpus Christi Apr. 22, 2008, orig. proceeding) (mem. op.).  

